      1:09-cr-10030-MMM-JAG # 20            Page 1 of 36
                                                                                             E-FILED
                                                     Monday, 13 April, 2009 11:00:57 AM
                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS   Clerk, U.S. District Court, ILCD




                                                                          211 Federal Building
                                                                              100 N.E. Monroe
JOHN A. GORMAN                                                           Peoria, Illinois 61602
United States Magistrate Judge                                        Telephone: 309-671-7140

April 13, 2009

Joanna Baltes
Department of Justice
Counterterrorism Section
950 Pennsylvania Ave NW
W ashington, DC 20530

Dear Ms. Baltes:

On September 1, 2004, the Central District of Illinois became an electronic court. Local
Rules have been implemented and Administrative Procedures adopted. Pursuant to the
Administrative Procedures, registration for and utilization of the electronic filing system is
mandatory, unless the presiding judge in each particular case enters an order allowing
the attorney to “opt out” in that case.

In 09-10030, you are an attorney of record. Our records indicate that you have not
registered for the Electronic system or been admitted to practice in the Central District.
This is a reminder that your participation in that case is not in conformance with the Rules
and Procedures of this Court.

Enclosed with this letter is an attorney admission packet as well as an application for
Registration into the electronic system. If you have not already done so, please complete
and return these form to the addresses shown. Upon receipt of your completed
registration application, you will receive via email a login and password.

The Home Page for the Central District of Illinois is www.ilcd.uscourts.gov. At that site,
you will find much valuable information about the electronic system, including the Local
Rules and Administrative Procedures. Our Court also offers attorney training sessions. If
you are interested, the Home Page also allows you to check the dates and times for
training sessions and enroll for one of them.

W e appreciate your careful consideration and look forward to your participation in the
electronic filing system.

Sincerely,



John A. Gorman
United States Magistrate Judge

JAG/wlw
enc.
         1:09-cr-10030-MMM-JAG # 20                           Page 2 of 36

                                 United States District Court
                                  CENTRAL DISTRICT OF ILLINOIS
                                 INSTRUCTIONS FOR COMPLETING
                               MOTION FOR ADMISSION TO PRACTICE

        Enclosed you will find an application for admission to practice generally before this
court and an admission questionnaire. You may seek admission to the bar of this court in any
of three ways:

          1.           You may have a current member of the bar of this court move for your admission
                       through Part A. The current member should complete Part A and you should
                       complete the admission questionnaire. Please submit the completed forms and
                       the $185 fee to the court.

                                                                OR

          2.           You may move for your own admission through Part B. You should complete
                       Part B and the admission questionnaire. You must include a Certificate of Good
                       Standing from the appropriate agency of the state in which you are licensed.
                       Please submit the completed forms, the Certificate of Good Standing and the
                       $185 fee to the court.
                                                     OR

          3.           You may move for your own admission through Part C. You should complete
                       Part C and the admission questionnaire. You must include a copy of your
                       Certificate of Admission for either the Northern or Southern District of IL in
                       which you are licensed. Please submit the completed forms, copy of certificate,
                       and the $185 fee to the court.

                                   Complete either Part A or Part B or C.

        After your motion for admission has been allowed, the clerk will send you an oath card
if you completed Part A or B. You may appear before any judge (state or federal) and have the
oath administered. The judge must sign the oath card and you must return it to the clerk of this
court. When the completed oath card is received by the clerk, you will be enrolled in the bar
of this court and you will receive a certificate of admission. Enrollment is not complete until
the oath card is returned. Upon motion for reciprocal admission being allowed by the Court,
movant shall be summarily admitted to the CDIL bar. No oath card is required for Part C.
        Pursuant to CDIL-LR-83.5 (F), you may make only one appearance before admission.
You may not continue to appear in this court, including telephone appearances, without being
admitted to practice here.
        Your prompt attention to this matter is appreciated. If you have any questions
concerning your admission to practice, please call the Clerk's office.

                                                         Office of the Clerk
                                                         Mailing Addresses
100 N.E. Monroe                  600 East Monroe                           211 - 19th Street       218 U.S. Courthouse
309 Federal Building             151 Federal Bldg.                         40 Post Office Bldg.    201 S. Vine
Peoria, IL 61602                 Springfield, IL 62701                     Rock Island, IL 61201   Urbana, IL 61802
309-671-7117                     217-492-4020                              309-793-5778            217-373-5830
               1:09-cr-10030-MMM-JAG # 20                   Page 3 of 36
                               United States District Court
                                 CENTRAL DISTRICT OF ILLINOIS

                                MOTION FOR ADMISSION TO PRACTICE
                                  (Complete A or B or C per instructions)
A.                                       of
      Name of Applicant                               City, County, State
        seeks admission to practice generally before this court pursuant to CDIL-LR-83.5
        I,                            of                                      am a member
              Name of Movant                          City, County, State
        in good standing of the bar of this court, having been admitted at (circle one)
                              Danville/Urbana - Peoria - Springfield - Rock Island.
                                 is licensed by                                , is currently in
           Name of Applicant                                    State
        good standing and is actively engaged in the practice of law. I know
                                                                                             Applicant
        to be of good moral character and general fitness to practice law in this court, and I recommend
        him/her for admission to the bar of this court.
        I so move.

             Date                                               Signature of Movant
******************************************************************************************
B.
                                                 of                                                                            Name of
        Applicant                         City, County, State
        seeks admission to practice generally before this court pursuant to CDIL-LR-83.5.
        I am licensed by                 and I attach a Certificate of Good Standing with this motion.
                                 State
        I am actively engaged in the practice of law and am of general fitness to practice law in this court.
        I so move.

               Date                                               Signature of Movant
******************************************************************************************
C. Reciprocal Admission
                                                   of
        Name of Applicant                             City, County, State
        seeks admission to practice generally before this court pursuant to CDIL-LR-83.5.
        I am licensed in the Northern/Southern District of IL (circle one) and I attach a copy of my Certificate
        of Admission with this motion. I am in Good Standing and actively engaged in the practice of law and
        am of general fitness to practice law in this court.
        I so move.
                                                                                                                               Date
                                              Signature of Movant


                                                          ENTER
     MOTION ALLOWED                                                                     U.S. District Judge / U. S. Magistrate Judge
                                         Date:

attyadmrevised.wpd
            1:09-cr-10030-MMM-JAG # 20 Page
                            ADMISSION       4 of 36
                                       QUESTIONNAIRE
     (TO BE COMPLETED BY EACH APPLICANT APPLYING FOR ADMISSION TO THE ROLL TO PRACTICE IN THE FEDERAL COURT,
                                          CENTRAL DISTRICT OF ILLINOIS)



                       NAME                                                 HOME ADDRESS




Social Security No:

                 NAME OF FIRM                                              OFFICE ADDRESS




Telephone No. of Firm:

                                                 EDUCATION

  UNDERGRADUATE SCHOOLS ATTENDED                                                 DEGREES




          LAW SCHOOLS ATTENDED                                                   DEGREES




        STATE ADMITTED TO THE BAR                                         DATE OF ADMISSION


Bar number:

                 OTHER FEDERAL COURTS WHERE ADMITTED TO PRACTICE
           1:09-cr-10030-MMM-JAG # 20                        Page 5 of 36

APPLICANT HAS READ AND IS FAMILIAR WITH:                                                                  YES        NO

A.    Provisions of the Judicial Code (Title 28 U.S.C.,§§ 1330-1452), which pertain to jurisdiction
      of and venue in a United States District Court.
B.    The Federal Rules of Civil Procedure.
C.    The Federal Rules of Criminal Procedure.
D.    The Rules of the United States District Court for the Central District of Illinois.
E.    The Code of Professional Responsibility as adopted by the State of Illinois.

HAS THE APPLICANT EITHER SUCCESSFULLY COMPLETED A COURSE OF STUDY IN
AN EDUCATION INSTITUTION BEFORE OR AFTER ADMISSION TO THE BAR,
COVERING THE FOLLOWING SUBJECT MATTER:

A.    Evidence.
B.    Civil Procedure including Federal Jurisdiction Practice and Procedure
C.    Criminal Law and Procedure
D.    Professional Responsibility
E.    Trial Advocacy

HAS THE APPLICANT ASSISTED IN THE PREPARATION OF A CASE OR CASES FOR
TRIAL, EITHER CRIMINAL OR CIVIL?

      If yes, number of cases assisted in the preparation.
      Were any of these Federal Court Proceedings?

HAVE YOU EVER OBSERVED A COMPLETE HEARING AT WHICH TESTIMONY IS
TAKEN ON THE MERITS IN UNITED STATES DISTRICT COURT?

      If yes, how many proceedings have you so observed?

HAVE YOU EVER BEEN DISCIPLINED BY ANY COURT OR STATE DISCIPLINARY
AUTHORITY?

      If yes, please give dates and dispositions.




     DATED THIS                     DAY OF                                   , 19       .



                                                                                                      Applicant's Signature


                                                                                                 Typed Name of Applicant
RULE 83.5 1:09-cr-10030-MMM-JAG
           ADMISSION TO PRACTICE# 20              Page 6 of 36

     (A)   Qualifications for Admission to Practice.

           Any attorney licensed to practice law in any state or the District of Columbia shall be admitted to
           practice generally in this court on written motion of a member in good standing of the bar of this
           court, or upon the attorney's own motion accompanied by certification of good standing from the
           state in which the attorney is licensed, and upon payment of the fees required by law and by Local
           Rule 83.5(E). On motion made at the time of the written motion for admission to practice, the
           presiding judge may waive the admission fees for any attorney employed full time by the United
           States, any state or county.

           Students of accredited law schools may, upon written motion of a member in good standing of the
           bar of this court, be provisionally admitted to practice and may appear in this court under the
           supervision and direction of the sponsoring attorney. There shall be no fee for provisional
           admission.

     (B)   Oath.

           All attorneys shall at the time of their admission to practice before this court take an oath or
           affirmation to support the Constitution of the United States, faithfully to discharge their duties as
           attorneys and counselors, and to demean themselves uprightly and according to law and the
           recognized standards of ethics of the profession, and they shall, under the direction of the clerk of
           this court, sign the roll of attorneys and pay the fees required by law and by Local Rule 83.5(E).

     (C)   Admission to Practice in All Divisions.

           Admission to practice generally in this court includes all divisions.

     (D)   Reciprocal Admission.

           Any attorney admitted to practice in the Northern or Southern Districts of Illinois shall be admitted
           to practice generally in this court upon the attorney’s own motion accompanied by a copy of his/her
           admission certificate from the district in which the attorney is admitted, the attorney’s certification
           that he/she is in good standing generally and upon payment of the fees required by law and Local
           Rule 83.5(E). Upon motion for reciprocal admission being allowed by the Court, movant shall be
           summarily admitted to the CDIL bar.




                                              RULE 83.5 - 1
      1:09-cr-10030-MMM-JAG # 20 Page 7 of 36
(E)    Additional Fees Assessed Upon Admission

      This court assesses a special $35.00 fee to be paid by each attorney at the time of admission to
      practice in this court.

      The special $35.00 fee will be deposited in the District Court Fund and administered in accordance
      with the provisions of the Plan for the Administration of the District Court Fund adopted by this
      Court on June 1, 2000, primarily for the reimbursement of expenses incurred by pro bono counsel.


(F)   Admission Pro Hac Vice.

      At the discretion of the presiding judge, an attorney duly licensed to practice in any state or the
      District of Columbia may, upon motion, be permitted to appear of record and participate in a case
      on one occasion; thereafter, the attorney must secure regular admission or the attorney will not be
      permitted to participate in the case, and may be subject to sanctions.


(G)   Unauthorized Practice.

      All attorneys who appear in person or by filing pleadings in this court must be admitted to practice
      in this court in accordance with this rule. Only attorneys so admitted shall practice or file pleadings
      in this court. Except as provided in Local Rule 83.5 (E), upon entry of appearance as an attorney
      of record, the entry of appearance must include a certification that the attorney is a member in good
      standing of the bar of this court.

      Any person who, before his or her admission to the bar of this court, or during his or her suspension
      or disbarment, exercises in this district any of the privileges of a member of the bar in any action
      or proceeding pending in this court, or who pretends to be entitled to do so, may be adjudged guilty
      of contempt of court and appropriately sanctioned.


(H)   Changes Reported to the Clerk of This Court.

      If at any time after admission any relevant circumstance changes for an attorney (e.g. name,
      address, phone number, disciplinary status), he or she shall notify the clerk of this court in writing
      of such change.




                                         RULE 83.5 - 2
(I)   1:09-cr-10030-MMM-JAG
       Admission.           # 20            Page 8 of 36

      Admission may be in person or by mail. Procedures for admission by mail shall be prescribed by
      the clerk of this court. Admission shall be as of the date the oath card is received by the Clerk.



(J)   Pro Bono Panel.

      The Pro Bono Panel of this court shall consist of all attorneys admitted to practice in this court
      whose place of business is in the Central District of Illinois. Attorneys employed full time by the
      United States, the State of Illinois or a county are exempt from service on the panel. Attorneys
      appointed pro bono to represent litigants shall not enter into any contingent fee arrangement with
      their clients concerning the subject case. Statutory fees and expenses may be awarded to a pro
      bono attorney as provided by law.

      Any attorney appointed to represent an indigent party in a civil proceeding before this Court, may
      petition the Court for reimbursement of expenses incurred in the preparation and presentation of
      the proceeding, subject to the procedures and regulations contained in the plan of this Court
      adopted June 1, 2000, governing reimbursement of expenses from the District Court Fund




                                        RULE 83.5 - 3
                 UNITED STATES DISTRICT
               1:09-cr-10030-MMM-JAG # 20COURT
                                           Page 9 of 36
                 CENTRAL DISTRICT OF ILLINOIS

                  ECF ATTORNEY REGISTRATION FORM
    To register for an account on this Court’s Electronic Case Filing System (ECF), please complete the following information:
                                                           [PLEASE TYPE]
First Name: ___________________________________               Middle Name: ____________________________________________

Last Name: ___________________________________                Bar ID Number and State:___________________________________

Firm Name: _____________________________________________________________________________________________

Address: ________________________________________________________________________________________________

City:__________________________________________________ State:__________________ Zip Code:__________________

Telephone Number: ______________________________                  Primary e-mail address:___________________________________
                                                                                              (Attorney’s individual e-mail for purposes of receipt and
                                                                                                    confirmation of login and passw ord information)



Fax Number:____________________________________                   Secondary e-mail address:_________________________________
                                                                                                        (For purposes of ongoing notices of filing, e.g. central
                                                                                                                           repository, secretary)
Attorneys seeking to file documents electronically must be admitted to practice in the United States District Court for the
Central District of Illinois pursuant to Local Rule 83.5.


Date admitted to practice in this Court: __________________             Are you currently in good standing?                   Yes      9       No     9
The undersigned agrees to abide by all Court rules, orders, and policies and procedures governing the use of the electronic filing
system. The undersigned also consents to receiving notice of filings pursuant to Fed. R. Civ. P. 5(b)(2)(D) and Fed. R. Crim.
P. 49(b) via the Court’s electronic filing system. The combination of user id and password will serve as the signature of the
attorney filing the documents. Attorneys must protect the security of their passwords and immediately notify the Court if they
learn that their password has been compromised. The undersigned acknowledges that misuse of the password or violations
of the Administrative Procedures for controlling electronic filing may subject the undersigned to sanctions pursuant to Fed.
R. Civ. P. 11. Visit the PACER web site at http://pacer.psc.uscourts.gov to establish a PACER account.

Attorney Signature_________________________________________________                           Date _____________________________

Submit completed Registration Form to:                   John M. W aters, Clerk
                                                         United States District Court
                                                         Attention: Electronic Filing System Registration
                                                         600 E. Monroe St
                                                         Room 151
                                                         Springfield, IL 62701
                                                         (217) 492-4020




                                                              COURT USE ONLY:

                                                              E - Filing Login Assigned: ______________________________________
Login name sent via e-mail. Password will be sent via
separate e-mail after confirmation of receipt of login        E - Filing Password Assigned: __________________________________
name. Contact any of our divisional offices with
questions concerning registration or ECF.

                                                              Q   Attorney’s e-mail record updated               Q   Password e-mailed to attorney

                                                              Q   Confirmation e-mail with login sent            Q   Copy of form mailed to attorney

                                                              Q   E-mail address confirmed by attorney
      1:09-cr-10030-MMM-JAG # 20           Page 10 of 36
                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS




                                                                          211 Federal Building
                                                                              100 N.E. Monroe
JOHN A. GORMAN                                                           Peoria, Illinois 61602
United States Magistrate Judge                                        Telephone: 309-671-7140

April 13, 2009

John Gibbs
Department of Justice
Counterterrorism Section
950 Pennsylvania Ave NW
W ashington, DC 20530

Dear Mr. Gibbs:

On September 1, 2004, the Central District of Illinois became an electronic court. Local
Rules have been implemented and Administrative Procedures adopted. Pursuant to the
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the attorney to “opt out” in that case.

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registered for the Electronic system or been admitted to practice in the Central District.
This is a reminder that your participation in that case is not in conformance with the Rules
and Procedures of this Court.

Enclosed with this letter is an attorney admission packet as well as an application for
Registration into the electronic system. If you have not already done so, please complete
and return these form to the addresses shown. Upon receipt of your completed
registration application, you will receive via email a login and password.

The Home Page for the Central District of Illinois is www.ilcd.uscourts.gov. At that site,
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Rules and Administrative Procedures. Our Court also offers attorney training sessions. If
you are interested, the Home Page also allows you to check the dates and times for
training sessions and enroll for one of them.

W e appreciate your careful consideration and look forward to your participation in the
electronic filing system.

Sincerely,



John A. Gorman
United States Magistrate Judge

JAG/wlw
enc.
         1:09-cr-10030-MMM-JAG # 20                          Page 11 of 36

                                 United States District Court
                                  CENTRAL DISTRICT OF ILLINOIS
                                 INSTRUCTIONS FOR COMPLETING
                               MOTION FOR ADMISSION TO PRACTICE

        Enclosed you will find an application for admission to practice generally before this
court and an admission questionnaire. You may seek admission to the bar of this court in any
of three ways:

          1.           You may have a current member of the bar of this court move for your admission
                       through Part A. The current member should complete Part A and you should
                       complete the admission questionnaire. Please submit the completed forms and
                       the $185 fee to the court.

                                                                OR

          2.           You may move for your own admission through Part B. You should complete
                       Part B and the admission questionnaire. You must include a Certificate of Good
                       Standing from the appropriate agency of the state in which you are licensed.
                       Please submit the completed forms, the Certificate of Good Standing and the
                       $185 fee to the court.
                                                     OR

          3.           You may move for your own admission through Part C. You should complete
                       Part C and the admission questionnaire. You must include a copy of your
                       Certificate of Admission for either the Northern or Southern District of IL in
                       which you are licensed. Please submit the completed forms, copy of certificate,
                       and the $185 fee to the court.

                                   Complete either Part A or Part B or C.

        After your motion for admission has been allowed, the clerk will send you an oath card
if you completed Part A or B. You may appear before any judge (state or federal) and have the
oath administered. The judge must sign the oath card and you must return it to the clerk of this
court. When the completed oath card is received by the clerk, you will be enrolled in the bar
of this court and you will receive a certificate of admission. Enrollment is not complete until
the oath card is returned. Upon motion for reciprocal admission being allowed by the Court,
movant shall be summarily admitted to the CDIL bar. No oath card is required for Part C.
        Pursuant to CDIL-LR-83.5 (F), you may make only one appearance before admission.
You may not continue to appear in this court, including telephone appearances, without being
admitted to practice here.
        Your prompt attention to this matter is appreciated. If you have any questions
concerning your admission to practice, please call the Clerk's office.

                                                         Office of the Clerk
                                                         Mailing Addresses
100 N.E. Monroe                  600 East Monroe                           211 - 19th Street       218 U.S. Courthouse
309 Federal Building             151 Federal Bldg.                         40 Post Office Bldg.    201 S. Vine
Peoria, IL 61602                 Springfield, IL 62701                     Rock Island, IL 61201   Urbana, IL 61802
309-671-7117                     217-492-4020                              309-793-5778            217-373-5830
              1:09-cr-10030-MMM-JAG # 20                   Page 12 of 36
                               United States District Court
                                 CENTRAL DISTRICT OF ILLINOIS

                                MOTION FOR ADMISSION TO PRACTICE
                                  (Complete A or B or C per instructions)
A.                                       of
      Name of Applicant                               City, County, State
        seeks admission to practice generally before this court pursuant to CDIL-LR-83.5
        I,                            of                                      am a member
              Name of Movant                          City, County, State
        in good standing of the bar of this court, having been admitted at (circle one)
                              Danville/Urbana - Peoria - Springfield - Rock Island.
                                 is licensed by                                , is currently in
           Name of Applicant                                    State
        good standing and is actively engaged in the practice of law. I know
                                                                                             Applicant
        to be of good moral character and general fitness to practice law in this court, and I recommend
        him/her for admission to the bar of this court.
        I so move.

             Date                                               Signature of Movant
******************************************************************************************
B.
                                                 of                                                                            Name of
        Applicant                         City, County, State
        seeks admission to practice generally before this court pursuant to CDIL-LR-83.5.
        I am licensed by                 and I attach a Certificate of Good Standing with this motion.
                                 State
        I am actively engaged in the practice of law and am of general fitness to practice law in this court.
        I so move.

               Date                                               Signature of Movant
******************************************************************************************
C. Reciprocal Admission
                                                   of
        Name of Applicant                             City, County, State
        seeks admission to practice generally before this court pursuant to CDIL-LR-83.5.
        I am licensed in the Northern/Southern District of IL (circle one) and I attach a copy of my Certificate
        of Admission with this motion. I am in Good Standing and actively engaged in the practice of law and
        am of general fitness to practice law in this court.
        I so move.
                                                                                                                               Date
                                              Signature of Movant


                                                          ENTER
     MOTION ALLOWED                                                                     U.S. District Judge / U. S. Magistrate Judge
                                         Date:

attyadmrevised.wpd
           1:09-cr-10030-MMM-JAG # 20 Page
                           ADMISSION       13 of 36
                                      QUESTIONNAIRE
     (TO BE COMPLETED BY EACH APPLICANT APPLYING FOR ADMISSION TO THE ROLL TO PRACTICE IN THE FEDERAL COURT,
                                          CENTRAL DISTRICT OF ILLINOIS)



                       NAME                                                 HOME ADDRESS




Social Security No:

                 NAME OF FIRM                                              OFFICE ADDRESS




Telephone No. of Firm:

                                                 EDUCATION

  UNDERGRADUATE SCHOOLS ATTENDED                                                 DEGREES




          LAW SCHOOLS ATTENDED                                                   DEGREES




        STATE ADMITTED TO THE BAR                                         DATE OF ADMISSION


Bar number:

                 OTHER FEDERAL COURTS WHERE ADMITTED TO PRACTICE
           1:09-cr-10030-MMM-JAG # 20                        Page 14 of 36

APPLICANT HAS READ AND IS FAMILIAR WITH:                                                                  YES        NO

A.    Provisions of the Judicial Code (Title 28 U.S.C.,§§ 1330-1452), which pertain to jurisdiction
      of and venue in a United States District Court.
B.    The Federal Rules of Civil Procedure.
C.    The Federal Rules of Criminal Procedure.
D.    The Rules of the United States District Court for the Central District of Illinois.
E.    The Code of Professional Responsibility as adopted by the State of Illinois.

HAS THE APPLICANT EITHER SUCCESSFULLY COMPLETED A COURSE OF STUDY IN
AN EDUCATION INSTITUTION BEFORE OR AFTER ADMISSION TO THE BAR,
COVERING THE FOLLOWING SUBJECT MATTER:

A.    Evidence.
B.    Civil Procedure including Federal Jurisdiction Practice and Procedure
C.    Criminal Law and Procedure
D.    Professional Responsibility
E.    Trial Advocacy

HAS THE APPLICANT ASSISTED IN THE PREPARATION OF A CASE OR CASES FOR
TRIAL, EITHER CRIMINAL OR CIVIL?

      If yes, number of cases assisted in the preparation.
      Were any of these Federal Court Proceedings?

HAVE YOU EVER OBSERVED A COMPLETE HEARING AT WHICH TESTIMONY IS
TAKEN ON THE MERITS IN UNITED STATES DISTRICT COURT?

      If yes, how many proceedings have you so observed?

HAVE YOU EVER BEEN DISCIPLINED BY ANY COURT OR STATE DISCIPLINARY
AUTHORITY?

      If yes, please give dates and dispositions.




     DATED THIS                     DAY OF                                   , 19       .



                                                                                                      Applicant's Signature


                                                                                                 Typed Name of Applicant
RULE 83.5 1:09-cr-10030-MMM-JAG
           ADMISSION TO PRACTICE# 20              Page 15 of 36

     (A)   Qualifications for Admission to Practice.

           Any attorney licensed to practice law in any state or the District of Columbia shall be admitted to
           practice generally in this court on written motion of a member in good standing of the bar of this
           court, or upon the attorney's own motion accompanied by certification of good standing from the
           state in which the attorney is licensed, and upon payment of the fees required by law and by Local
           Rule 83.5(E). On motion made at the time of the written motion for admission to practice, the
           presiding judge may waive the admission fees for any attorney employed full time by the United
           States, any state or county.

           Students of accredited law schools may, upon written motion of a member in good standing of the
           bar of this court, be provisionally admitted to practice and may appear in this court under the
           supervision and direction of the sponsoring attorney. There shall be no fee for provisional
           admission.

     (B)   Oath.

           All attorneys shall at the time of their admission to practice before this court take an oath or
           affirmation to support the Constitution of the United States, faithfully to discharge their duties as
           attorneys and counselors, and to demean themselves uprightly and according to law and the
           recognized standards of ethics of the profession, and they shall, under the direction of the clerk of
           this court, sign the roll of attorneys and pay the fees required by law and by Local Rule 83.5(E).

     (C)   Admission to Practice in All Divisions.

           Admission to practice generally in this court includes all divisions.

     (D)   Reciprocal Admission.

           Any attorney admitted to practice in the Northern or Southern Districts of Illinois shall be admitted
           to practice generally in this court upon the attorney’s own motion accompanied by a copy of his/her
           admission certificate from the district in which the attorney is admitted, the attorney’s certification
           that he/she is in good standing generally and upon payment of the fees required by law and Local
           Rule 83.5(E). Upon motion for reciprocal admission being allowed by the Court, movant shall be
           summarily admitted to the CDIL bar.




                                              RULE 83.5 - 1
      1:09-cr-10030-MMM-JAG # 20 Page 16 of 36
(E)    Additional Fees Assessed Upon Admission

      This court assesses a special $35.00 fee to be paid by each attorney at the time of admission to
      practice in this court.

      The special $35.00 fee will be deposited in the District Court Fund and administered in accordance
      with the provisions of the Plan for the Administration of the District Court Fund adopted by this
      Court on June 1, 2000, primarily for the reimbursement of expenses incurred by pro bono counsel.


(F)   Admission Pro Hac Vice.

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      District of Columbia may, upon motion, be permitted to appear of record and participate in a case
      on one occasion; thereafter, the attorney must secure regular admission or the attorney will not be
      permitted to participate in the case, and may be subject to sanctions.


(G)   Unauthorized Practice.

      All attorneys who appear in person or by filing pleadings in this court must be admitted to practice
      in this court in accordance with this rule. Only attorneys so admitted shall practice or file pleadings
      in this court. Except as provided in Local Rule 83.5 (E), upon entry of appearance as an attorney
      of record, the entry of appearance must include a certification that the attorney is a member in good
      standing of the bar of this court.

      Any person who, before his or her admission to the bar of this court, or during his or her suspension
      or disbarment, exercises in this district any of the privileges of a member of the bar in any action
      or proceeding pending in this court, or who pretends to be entitled to do so, may be adjudged guilty
      of contempt of court and appropriately sanctioned.


(H)   Changes Reported to the Clerk of This Court.

      If at any time after admission any relevant circumstance changes for an attorney (e.g. name,
      address, phone number, disciplinary status), he or she shall notify the clerk of this court in writing
      of such change.




                                         RULE 83.5 - 2
(I)   1:09-cr-10030-MMM-JAG
       Admission.           # 20           Page 17 of 36

      Admission may be in person or by mail. Procedures for admission by mail shall be prescribed by
      the clerk of this court. Admission shall be as of the date the oath card is received by the Clerk.



(J)   Pro Bono Panel.

      The Pro Bono Panel of this court shall consist of all attorneys admitted to practice in this court
      whose place of business is in the Central District of Illinois. Attorneys employed full time by the
      United States, the State of Illinois or a county are exempt from service on the panel. Attorneys
      appointed pro bono to represent litigants shall not enter into any contingent fee arrangement with
      their clients concerning the subject case. Statutory fees and expenses may be awarded to a pro
      bono attorney as provided by law.

      Any attorney appointed to represent an indigent party in a civil proceeding before this Court, may
      petition the Court for reimbursement of expenses incurred in the preparation and presentation of
      the proceeding, subject to the procedures and regulations contained in the plan of this Court
      adopted June 1, 2000, governing reimbursement of expenses from the District Court Fund




                                        RULE 83.5 - 3
                 UNITED STATES DISTRICT
               1:09-cr-10030-MMM-JAG # 20 COURT
                                           Page 18 of 36
                 CENTRAL DISTRICT OF ILLINOIS

                  ECF ATTORNEY REGISTRATION FORM
    To register for an account on this Court’s Electronic Case Filing System (ECF), please complete the following information:
                                                           [PLEASE TYPE]
First Name: ___________________________________               Middle Name: ____________________________________________

Last Name: ___________________________________                Bar ID Number and State:___________________________________

Firm Name: _____________________________________________________________________________________________

Address: ________________________________________________________________________________________________

City:__________________________________________________ State:__________________ Zip Code:__________________

Telephone Number: ______________________________                  Primary e-mail address:___________________________________
                                                                                              (Attorney’s individual e-mail for purposes of receipt and
                                                                                                    confirmation of login and passw ord information)



Fax Number:____________________________________                   Secondary e-mail address:_________________________________
                                                                                                        (For purposes of ongoing notices of filing, e.g. central
                                                                                                                           repository, secretary)
Attorneys seeking to file documents electronically must be admitted to practice in the United States District Court for the
Central District of Illinois pursuant to Local Rule 83.5.


Date admitted to practice in this Court: __________________             Are you currently in good standing?                   Yes      9       No     9
The undersigned agrees to abide by all Court rules, orders, and policies and procedures governing the use of the electronic filing
system. The undersigned also consents to receiving notice of filings pursuant to Fed. R. Civ. P. 5(b)(2)(D) and Fed. R. Crim.
P. 49(b) via the Court’s electronic filing system. The combination of user id and password will serve as the signature of the
attorney filing the documents. Attorneys must protect the security of their passwords and immediately notify the Court if they
learn that their password has been compromised. The undersigned acknowledges that misuse of the password or violations
of the Administrative Procedures for controlling electronic filing may subject the undersigned to sanctions pursuant to Fed.
R. Civ. P. 11. Visit the PACER web site at http://pacer.psc.uscourts.gov to establish a PACER account.

Attorney Signature_________________________________________________                           Date _____________________________

Submit completed Registration Form to:                   John M. W aters, Clerk
                                                         United States District Court
                                                         Attention: Electronic Filing System Registration
                                                         600 E. Monroe St
                                                         Room 151
                                                         Springfield, IL 62701
                                                         (217) 492-4020




                                                              COURT USE ONLY:

                                                              E - Filing Login Assigned: ______________________________________
Login name sent via e-mail. Password will be sent via
separate e-mail after confirmation of receipt of login        E - Filing Password Assigned: __________________________________
name. Contact any of our divisional offices with
questions concerning registration or ECF.

                                                              Q   Attorney’s e-mail record updated               Q   Password e-mailed to attorney

                                                              Q   Confirmation e-mail with login sent            Q   Copy of form mailed to attorney

                                                              Q   E-mail address confirmed by attorney
      1:09-cr-10030-MMM-JAG # 20           Page 19 of 36
                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS




                                                                          211 Federal Building
                                                                              100 N.E. Monroe
JOHN A. GORMAN                                                           Peoria, Illinois 61602
United States Magistrate Judge                                        Telephone: 309-671-7140

April 13, 2009

Michael Mullaney
Department of Justice
Counterterrorism Section
950 Pennsylvania Ave NW
W ashington, DC 20530

Dear Mr. Mullaney:

On September 1, 2004, the Central District of Illinois became an electronic court. Local
Rules have been implemented and Administrative Procedures adopted. Pursuant to the
Administrative Procedures, registration for and utilization of the electronic filing system is
mandatory, unless the presiding judge in each particular case enters an order allowing
the attorney to “opt out” in that case.

In 09-10030, you are an attorney of record. Our records indicate that you have not
registered for the Electronic system or been admitted to practice in the Central District.
This is a reminder that your participation in that case is not in conformance with the Rules
and Procedures of this Court.

Enclosed with this letter is an attorney admission packet as well as an application for
Registration into the electronic system. If you have not already done so, please complete
and return these form to the addresses shown. Upon receipt of your completed
registration application, you will receive via email a login and password.

The Home Page for the Central District of Illinois is www.ilcd.uscourts.gov. At that site,
you will find much valuable information about the electronic system, including the Local
Rules and Administrative Procedures. Our Court also offers attorney training sessions. If
you are interested, the Home Page also allows you to check the dates and times for
training sessions and enroll for one of them.

W e appreciate your careful consideration and look forward to your participation in the
electronic filing system.

Sincerely,



John A. Gorman
United States Magistrate Judge

JAG/wlw
enc.
         1:09-cr-10030-MMM-JAG # 20                          Page 20 of 36

                                 United States District Court
                                  CENTRAL DISTRICT OF ILLINOIS
                                 INSTRUCTIONS FOR COMPLETING
                               MOTION FOR ADMISSION TO PRACTICE

        Enclosed you will find an application for admission to practice generally before this
court and an admission questionnaire. You may seek admission to the bar of this court in any
of three ways:

          1.           You may have a current member of the bar of this court move for your admission
                       through Part A. The current member should complete Part A and you should
                       complete the admission questionnaire. Please submit the completed forms and
                       the $185 fee to the court.

                                                                OR

          2.           You may move for your own admission through Part B. You should complete
                       Part B and the admission questionnaire. You must include a Certificate of Good
                       Standing from the appropriate agency of the state in which you are licensed.
                       Please submit the completed forms, the Certificate of Good Standing and the
                       $185 fee to the court.
                                                     OR

          3.           You may move for your own admission through Part C. You should complete
                       Part C and the admission questionnaire. You must include a copy of your
                       Certificate of Admission for either the Northern or Southern District of IL in
                       which you are licensed. Please submit the completed forms, copy of certificate,
                       and the $185 fee to the court.

                                   Complete either Part A or Part B or C.

        After your motion for admission has been allowed, the clerk will send you an oath card
if you completed Part A or B. You may appear before any judge (state or federal) and have the
oath administered. The judge must sign the oath card and you must return it to the clerk of this
court. When the completed oath card is received by the clerk, you will be enrolled in the bar
of this court and you will receive a certificate of admission. Enrollment is not complete until
the oath card is returned. Upon motion for reciprocal admission being allowed by the Court,
movant shall be summarily admitted to the CDIL bar. No oath card is required for Part C.
        Pursuant to CDIL-LR-83.5 (F), you may make only one appearance before admission.
You may not continue to appear in this court, including telephone appearances, without being
admitted to practice here.
        Your prompt attention to this matter is appreciated. If you have any questions
concerning your admission to practice, please call the Clerk's office.

                                                         Office of the Clerk
                                                         Mailing Addresses
100 N.E. Monroe                  600 East Monroe                           211 - 19th Street       218 U.S. Courthouse
309 Federal Building             151 Federal Bldg.                         40 Post Office Bldg.    201 S. Vine
Peoria, IL 61602                 Springfield, IL 62701                     Rock Island, IL 61201   Urbana, IL 61802
309-671-7117                     217-492-4020                              309-793-5778            217-373-5830
              1:09-cr-10030-MMM-JAG # 20                   Page 21 of 36
                               United States District Court
                                 CENTRAL DISTRICT OF ILLINOIS

                                MOTION FOR ADMISSION TO PRACTICE
                                  (Complete A or B or C per instructions)
A.                                       of
      Name of Applicant                               City, County, State
        seeks admission to practice generally before this court pursuant to CDIL-LR-83.5
        I,                            of                                      am a member
              Name of Movant                          City, County, State
        in good standing of the bar of this court, having been admitted at (circle one)
                              Danville/Urbana - Peoria - Springfield - Rock Island.
                                 is licensed by                                , is currently in
           Name of Applicant                                    State
        good standing and is actively engaged in the practice of law. I know
                                                                                             Applicant
        to be of good moral character and general fitness to practice law in this court, and I recommend
        him/her for admission to the bar of this court.
        I so move.

             Date                                               Signature of Movant
******************************************************************************************
B.
                                                 of                                                                            Name of
        Applicant                         City, County, State
        seeks admission to practice generally before this court pursuant to CDIL-LR-83.5.
        I am licensed by                 and I attach a Certificate of Good Standing with this motion.
                                 State
        I am actively engaged in the practice of law and am of general fitness to practice law in this court.
        I so move.

               Date                                               Signature of Movant
******************************************************************************************
C. Reciprocal Admission
                                                   of
        Name of Applicant                             City, County, State
        seeks admission to practice generally before this court pursuant to CDIL-LR-83.5.
        I am licensed in the Northern/Southern District of IL (circle one) and I attach a copy of my Certificate
        of Admission with this motion. I am in Good Standing and actively engaged in the practice of law and
        am of general fitness to practice law in this court.
        I so move.
                                                                                                                               Date
                                              Signature of Movant


                                                          ENTER
     MOTION ALLOWED                                                                     U.S. District Judge / U. S. Magistrate Judge
                                         Date:

attyadmrevised.wpd
           1:09-cr-10030-MMM-JAG # 20 Page
                           ADMISSION       22 of 36
                                      QUESTIONNAIRE
     (TO BE COMPLETED BY EACH APPLICANT APPLYING FOR ADMISSION TO THE ROLL TO PRACTICE IN THE FEDERAL COURT,
                                          CENTRAL DISTRICT OF ILLINOIS)



                       NAME                                                 HOME ADDRESS




Social Security No:

                 NAME OF FIRM                                              OFFICE ADDRESS




Telephone No. of Firm:

                                                 EDUCATION

  UNDERGRADUATE SCHOOLS ATTENDED                                                 DEGREES




          LAW SCHOOLS ATTENDED                                                   DEGREES




        STATE ADMITTED TO THE BAR                                         DATE OF ADMISSION


Bar number:

                 OTHER FEDERAL COURTS WHERE ADMITTED TO PRACTICE
           1:09-cr-10030-MMM-JAG # 20                        Page 23 of 36

APPLICANT HAS READ AND IS FAMILIAR WITH:                                                                  YES        NO

A.    Provisions of the Judicial Code (Title 28 U.S.C.,§§ 1330-1452), which pertain to jurisdiction
      of and venue in a United States District Court.
B.    The Federal Rules of Civil Procedure.
C.    The Federal Rules of Criminal Procedure.
D.    The Rules of the United States District Court for the Central District of Illinois.
E.    The Code of Professional Responsibility as adopted by the State of Illinois.

HAS THE APPLICANT EITHER SUCCESSFULLY COMPLETED A COURSE OF STUDY IN
AN EDUCATION INSTITUTION BEFORE OR AFTER ADMISSION TO THE BAR,
COVERING THE FOLLOWING SUBJECT MATTER:

A.    Evidence.
B.    Civil Procedure including Federal Jurisdiction Practice and Procedure
C.    Criminal Law and Procedure
D.    Professional Responsibility
E.    Trial Advocacy

HAS THE APPLICANT ASSISTED IN THE PREPARATION OF A CASE OR CASES FOR
TRIAL, EITHER CRIMINAL OR CIVIL?

      If yes, number of cases assisted in the preparation.
      Were any of these Federal Court Proceedings?

HAVE YOU EVER OBSERVED A COMPLETE HEARING AT WHICH TESTIMONY IS
TAKEN ON THE MERITS IN UNITED STATES DISTRICT COURT?

      If yes, how many proceedings have you so observed?

HAVE YOU EVER BEEN DISCIPLINED BY ANY COURT OR STATE DISCIPLINARY
AUTHORITY?

      If yes, please give dates and dispositions.




     DATED THIS                     DAY OF                                   , 19       .



                                                                                                      Applicant's Signature


                                                                                                 Typed Name of Applicant
RULE 83.5 1:09-cr-10030-MMM-JAG
           ADMISSION TO PRACTICE# 20              Page 24 of 36

     (A)   Qualifications for Admission to Practice.

           Any attorney licensed to practice law in any state or the District of Columbia shall be admitted to
           practice generally in this court on written motion of a member in good standing of the bar of this
           court, or upon the attorney's own motion accompanied by certification of good standing from the
           state in which the attorney is licensed, and upon payment of the fees required by law and by Local
           Rule 83.5(E). On motion made at the time of the written motion for admission to practice, the
           presiding judge may waive the admission fees for any attorney employed full time by the United
           States, any state or county.

           Students of accredited law schools may, upon written motion of a member in good standing of the
           bar of this court, be provisionally admitted to practice and may appear in this court under the
           supervision and direction of the sponsoring attorney. There shall be no fee for provisional
           admission.

     (B)   Oath.

           All attorneys shall at the time of their admission to practice before this court take an oath or
           affirmation to support the Constitution of the United States, faithfully to discharge their duties as
           attorneys and counselors, and to demean themselves uprightly and according to law and the
           recognized standards of ethics of the profession, and they shall, under the direction of the clerk of
           this court, sign the roll of attorneys and pay the fees required by law and by Local Rule 83.5(E).

     (C)   Admission to Practice in All Divisions.

           Admission to practice generally in this court includes all divisions.

     (D)   Reciprocal Admission.

           Any attorney admitted to practice in the Northern or Southern Districts of Illinois shall be admitted
           to practice generally in this court upon the attorney’s own motion accompanied by a copy of his/her
           admission certificate from the district in which the attorney is admitted, the attorney’s certification
           that he/she is in good standing generally and upon payment of the fees required by law and Local
           Rule 83.5(E). Upon motion for reciprocal admission being allowed by the Court, movant shall be
           summarily admitted to the CDIL bar.




                                              RULE 83.5 - 1
      1:09-cr-10030-MMM-JAG # 20 Page 25 of 36
(E)    Additional Fees Assessed Upon Admission

      This court assesses a special $35.00 fee to be paid by each attorney at the time of admission to
      practice in this court.

      The special $35.00 fee will be deposited in the District Court Fund and administered in accordance
      with the provisions of the Plan for the Administration of the District Court Fund adopted by this
      Court on June 1, 2000, primarily for the reimbursement of expenses incurred by pro bono counsel.


(F)   Admission Pro Hac Vice.

      At the discretion of the presiding judge, an attorney duly licensed to practice in any state or the
      District of Columbia may, upon motion, be permitted to appear of record and participate in a case
      on one occasion; thereafter, the attorney must secure regular admission or the attorney will not be
      permitted to participate in the case, and may be subject to sanctions.


(G)   Unauthorized Practice.

      All attorneys who appear in person or by filing pleadings in this court must be admitted to practice
      in this court in accordance with this rule. Only attorneys so admitted shall practice or file pleadings
      in this court. Except as provided in Local Rule 83.5 (E), upon entry of appearance as an attorney
      of record, the entry of appearance must include a certification that the attorney is a member in good
      standing of the bar of this court.

      Any person who, before his or her admission to the bar of this court, or during his or her suspension
      or disbarment, exercises in this district any of the privileges of a member of the bar in any action
      or proceeding pending in this court, or who pretends to be entitled to do so, may be adjudged guilty
      of contempt of court and appropriately sanctioned.


(H)   Changes Reported to the Clerk of This Court.

      If at any time after admission any relevant circumstance changes for an attorney (e.g. name,
      address, phone number, disciplinary status), he or she shall notify the clerk of this court in writing
      of such change.




                                         RULE 83.5 - 2
(I)   1:09-cr-10030-MMM-JAG
       Admission.           # 20           Page 26 of 36

      Admission may be in person or by mail. Procedures for admission by mail shall be prescribed by
      the clerk of this court. Admission shall be as of the date the oath card is received by the Clerk.



(J)   Pro Bono Panel.

      The Pro Bono Panel of this court shall consist of all attorneys admitted to practice in this court
      whose place of business is in the Central District of Illinois. Attorneys employed full time by the
      United States, the State of Illinois or a county are exempt from service on the panel. Attorneys
      appointed pro bono to represent litigants shall not enter into any contingent fee arrangement with
      their clients concerning the subject case. Statutory fees and expenses may be awarded to a pro
      bono attorney as provided by law.

      Any attorney appointed to represent an indigent party in a civil proceeding before this Court, may
      petition the Court for reimbursement of expenses incurred in the preparation and presentation of
      the proceeding, subject to the procedures and regulations contained in the plan of this Court
      adopted June 1, 2000, governing reimbursement of expenses from the District Court Fund




                                        RULE 83.5 - 3
                 UNITED STATES DISTRICT
               1:09-cr-10030-MMM-JAG # 20 COURT
                                           Page 27 of 36
                 CENTRAL DISTRICT OF ILLINOIS

                  ECF ATTORNEY REGISTRATION FORM
    To register for an account on this Court’s Electronic Case Filing System (ECF), please complete the following information:
                                                           [PLEASE TYPE]
First Name: ___________________________________               Middle Name: ____________________________________________

Last Name: ___________________________________                Bar ID Number and State:___________________________________

Firm Name: _____________________________________________________________________________________________

Address: ________________________________________________________________________________________________

City:__________________________________________________ State:__________________ Zip Code:__________________

Telephone Number: ______________________________                  Primary e-mail address:___________________________________
                                                                                              (Attorney’s individual e-mail for purposes of receipt and
                                                                                                    confirmation of login and passw ord information)



Fax Number:____________________________________                   Secondary e-mail address:_________________________________
                                                                                                        (For purposes of ongoing notices of filing, e.g. central
                                                                                                                           repository, secretary)
Attorneys seeking to file documents electronically must be admitted to practice in the United States District Court for the
Central District of Illinois pursuant to Local Rule 83.5.


Date admitted to practice in this Court: __________________             Are you currently in good standing?                   Yes      9       No     9
The undersigned agrees to abide by all Court rules, orders, and policies and procedures governing the use of the electronic filing
system. The undersigned also consents to receiving notice of filings pursuant to Fed. R. Civ. P. 5(b)(2)(D) and Fed. R. Crim.
P. 49(b) via the Court’s electronic filing system. The combination of user id and password will serve as the signature of the
attorney filing the documents. Attorneys must protect the security of their passwords and immediately notify the Court if they
learn that their password has been compromised. The undersigned acknowledges that misuse of the password or violations
of the Administrative Procedures for controlling electronic filing may subject the undersigned to sanctions pursuant to Fed.
R. Civ. P. 11. Visit the PACER web site at http://pacer.psc.uscourts.gov to establish a PACER account.

Attorney Signature_________________________________________________                           Date _____________________________

Submit completed Registration Form to:                   John M. W aters, Clerk
                                                         United States District Court
                                                         Attention: Electronic Filing System Registration
                                                         600 E. Monroe St
                                                         Room 151
                                                         Springfield, IL 62701
                                                         (217) 492-4020




                                                              COURT USE ONLY:

                                                              E - Filing Login Assigned: ______________________________________
Login name sent via e-mail. Password will be sent via
separate e-mail after confirmation of receipt of login        E - Filing Password Assigned: __________________________________
name. Contact any of our divisional offices with
questions concerning registration or ECF.

                                                              Q   Attorney’s e-mail record updated               Q   Password e-mailed to attorney

                                                              Q   Confirmation e-mail with login sent            Q   Copy of form mailed to attorney

                                                              Q   E-mail address confirmed by attorney
      1:09-cr-10030-MMM-JAG # 20           Page 28 of 36
                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS




                                                                          211 Federal Building
                                                                              100 N.E. Monroe
JOHN A. GORMAN                                                           Peoria, Illinois 61602
United States Magistrate Judge                                        Telephone: 309-671-7140

April 13, 2009

Sharon Lever
Department of Justice
Counterterrorism Section
950 Pennsylvania Ave NW
W ashington, DC 20530

Dear Mrs. Lever:

On September 1, 2004, the Central District of Illinois became an electronic court. Local
Rules have been implemented and Administrative Procedures adopted. Pursuant to the
Administrative Procedures, registration for and utilization of the electronic filing system is
mandatory, unless the presiding judge in each particular case enters an order allowing
the attorney to “opt out” in that case.

In 09-10030, you are an attorney of record. Our records indicate that you have not
registered for the Electronic system or been admitted to practice in the Central District.
This is a reminder that your participation in that case is not in conformance with the Rules
and Procedures of this Court.

Enclosed with this letter is an attorney admission packet as well as an application for
Registration into the electronic system. If you have not already done so, please complete
and return these form to the addresses shown. Upon receipt of your completed
registration application, you will receive via email a login and password.

The Home Page for the Central District of Illinois is www.ilcd.uscourts.gov. At that site,
you will find much valuable information about the electronic system, including the Local
Rules and Administrative Procedures. Our Court also offers attorney training sessions. If
you are interested, the Home Page also allows you to check the dates and times for
training sessions and enroll for one of them.

W e appreciate your careful consideration and look forward to your participation in the
electronic filing system.

Sincerely,



John A. Gorman
United States Magistrate Judge

JAG/wlw
enc.
         1:09-cr-10030-MMM-JAG # 20                          Page 29 of 36

                                 United States District Court
                                  CENTRAL DISTRICT OF ILLINOIS
                                 INSTRUCTIONS FOR COMPLETING
                               MOTION FOR ADMISSION TO PRACTICE

        Enclosed you will find an application for admission to practice generally before this
court and an admission questionnaire. You may seek admission to the bar of this court in any
of three ways:

          1.           You may have a current member of the bar of this court move for your admission
                       through Part A. The current member should complete Part A and you should
                       complete the admission questionnaire. Please submit the completed forms and
                       the $185 fee to the court.

                                                                OR

          2.           You may move for your own admission through Part B. You should complete
                       Part B and the admission questionnaire. You must include a Certificate of Good
                       Standing from the appropriate agency of the state in which you are licensed.
                       Please submit the completed forms, the Certificate of Good Standing and the
                       $185 fee to the court.
                                                     OR

          3.           You may move for your own admission through Part C. You should complete
                       Part C and the admission questionnaire. You must include a copy of your
                       Certificate of Admission for either the Northern or Southern District of IL in
                       which you are licensed. Please submit the completed forms, copy of certificate,
                       and the $185 fee to the court.

                                   Complete either Part A or Part B or C.

        After your motion for admission has been allowed, the clerk will send you an oath card
if you completed Part A or B. You may appear before any judge (state or federal) and have the
oath administered. The judge must sign the oath card and you must return it to the clerk of this
court. When the completed oath card is received by the clerk, you will be enrolled in the bar
of this court and you will receive a certificate of admission. Enrollment is not complete until
the oath card is returned. Upon motion for reciprocal admission being allowed by the Court,
movant shall be summarily admitted to the CDIL bar. No oath card is required for Part C.
        Pursuant to CDIL-LR-83.5 (F), you may make only one appearance before admission.
You may not continue to appear in this court, including telephone appearances, without being
admitted to practice here.
        Your prompt attention to this matter is appreciated. If you have any questions
concerning your admission to practice, please call the Clerk's office.

                                                         Office of the Clerk
                                                         Mailing Addresses
100 N.E. Monroe                  600 East Monroe                           211 - 19th Street       218 U.S. Courthouse
309 Federal Building             151 Federal Bldg.                         40 Post Office Bldg.    201 S. Vine
Peoria, IL 61602                 Springfield, IL 62701                     Rock Island, IL 61201   Urbana, IL 61802
309-671-7117                     217-492-4020                              309-793-5778            217-373-5830
              1:09-cr-10030-MMM-JAG # 20                   Page 30 of 36
                               United States District Court
                                 CENTRAL DISTRICT OF ILLINOIS

                                MOTION FOR ADMISSION TO PRACTICE
                                  (Complete A or B or C per instructions)
A.                                       of
      Name of Applicant                               City, County, State
        seeks admission to practice generally before this court pursuant to CDIL-LR-83.5
        I,                            of                                      am a member
              Name of Movant                          City, County, State
        in good standing of the bar of this court, having been admitted at (circle one)
                              Danville/Urbana - Peoria - Springfield - Rock Island.
                                 is licensed by                                , is currently in
           Name of Applicant                                    State
        good standing and is actively engaged in the practice of law. I know
                                                                                             Applicant
        to be of good moral character and general fitness to practice law in this court, and I recommend
        him/her for admission to the bar of this court.
        I so move.

             Date                                               Signature of Movant
******************************************************************************************
B.
                                                 of                                                                            Name of
        Applicant                         City, County, State
        seeks admission to practice generally before this court pursuant to CDIL-LR-83.5.
        I am licensed by                 and I attach a Certificate of Good Standing with this motion.
                                 State
        I am actively engaged in the practice of law and am of general fitness to practice law in this court.
        I so move.

               Date                                               Signature of Movant
******************************************************************************************
C. Reciprocal Admission
                                                   of
        Name of Applicant                             City, County, State
        seeks admission to practice generally before this court pursuant to CDIL-LR-83.5.
        I am licensed in the Northern/Southern District of IL (circle one) and I attach a copy of my Certificate
        of Admission with this motion. I am in Good Standing and actively engaged in the practice of law and
        am of general fitness to practice law in this court.
        I so move.
                                                                                                                               Date
                                              Signature of Movant


                                                          ENTER
     MOTION ALLOWED                                                                     U.S. District Judge / U. S. Magistrate Judge
                                         Date:

attyadmrevised.wpd
           1:09-cr-10030-MMM-JAG # 20 Page
                           ADMISSION       31 of 36
                                      QUESTIONNAIRE
     (TO BE COMPLETED BY EACH APPLICANT APPLYING FOR ADMISSION TO THE ROLL TO PRACTICE IN THE FEDERAL COURT,
                                          CENTRAL DISTRICT OF ILLINOIS)



                       NAME                                                 HOME ADDRESS




Social Security No:

                 NAME OF FIRM                                              OFFICE ADDRESS




Telephone No. of Firm:

                                                 EDUCATION

  UNDERGRADUATE SCHOOLS ATTENDED                                                 DEGREES




          LAW SCHOOLS ATTENDED                                                   DEGREES




        STATE ADMITTED TO THE BAR                                         DATE OF ADMISSION


Bar number:

                 OTHER FEDERAL COURTS WHERE ADMITTED TO PRACTICE
           1:09-cr-10030-MMM-JAG # 20                        Page 32 of 36

APPLICANT HAS READ AND IS FAMILIAR WITH:                                                                  YES        NO

A.    Provisions of the Judicial Code (Title 28 U.S.C.,§§ 1330-1452), which pertain to jurisdiction
      of and venue in a United States District Court.
B.    The Federal Rules of Civil Procedure.
C.    The Federal Rules of Criminal Procedure.
D.    The Rules of the United States District Court for the Central District of Illinois.
E.    The Code of Professional Responsibility as adopted by the State of Illinois.

HAS THE APPLICANT EITHER SUCCESSFULLY COMPLETED A COURSE OF STUDY IN
AN EDUCATION INSTITUTION BEFORE OR AFTER ADMISSION TO THE BAR,
COVERING THE FOLLOWING SUBJECT MATTER:

A.    Evidence.
B.    Civil Procedure including Federal Jurisdiction Practice and Procedure
C.    Criminal Law and Procedure
D.    Professional Responsibility
E.    Trial Advocacy

HAS THE APPLICANT ASSISTED IN THE PREPARATION OF A CASE OR CASES FOR
TRIAL, EITHER CRIMINAL OR CIVIL?

      If yes, number of cases assisted in the preparation.
      Were any of these Federal Court Proceedings?

HAVE YOU EVER OBSERVED A COMPLETE HEARING AT WHICH TESTIMONY IS
TAKEN ON THE MERITS IN UNITED STATES DISTRICT COURT?

      If yes, how many proceedings have you so observed?

HAVE YOU EVER BEEN DISCIPLINED BY ANY COURT OR STATE DISCIPLINARY
AUTHORITY?

      If yes, please give dates and dispositions.




     DATED THIS                     DAY OF                                   , 19       .



                                                                                                      Applicant's Signature


                                                                                                 Typed Name of Applicant
RULE 83.5 1:09-cr-10030-MMM-JAG
           ADMISSION TO PRACTICE# 20              Page 33 of 36

     (A)   Qualifications for Admission to Practice.

           Any attorney licensed to practice law in any state or the District of Columbia shall be admitted to
           practice generally in this court on written motion of a member in good standing of the bar of this
           court, or upon the attorney's own motion accompanied by certification of good standing from the
           state in which the attorney is licensed, and upon payment of the fees required by law and by Local
           Rule 83.5(E). On motion made at the time of the written motion for admission to practice, the
           presiding judge may waive the admission fees for any attorney employed full time by the United
           States, any state or county.

           Students of accredited law schools may, upon written motion of a member in good standing of the
           bar of this court, be provisionally admitted to practice and may appear in this court under the
           supervision and direction of the sponsoring attorney. There shall be no fee for provisional
           admission.

     (B)   Oath.

           All attorneys shall at the time of their admission to practice before this court take an oath or
           affirmation to support the Constitution of the United States, faithfully to discharge their duties as
           attorneys and counselors, and to demean themselves uprightly and according to law and the
           recognized standards of ethics of the profession, and they shall, under the direction of the clerk of
           this court, sign the roll of attorneys and pay the fees required by law and by Local Rule 83.5(E).

     (C)   Admission to Practice in All Divisions.

           Admission to practice generally in this court includes all divisions.

     (D)   Reciprocal Admission.

           Any attorney admitted to practice in the Northern or Southern Districts of Illinois shall be admitted
           to practice generally in this court upon the attorney’s own motion accompanied by a copy of his/her
           admission certificate from the district in which the attorney is admitted, the attorney’s certification
           that he/she is in good standing generally and upon payment of the fees required by law and Local
           Rule 83.5(E). Upon motion for reciprocal admission being allowed by the Court, movant shall be
           summarily admitted to the CDIL bar.




                                              RULE 83.5 - 1
      1:09-cr-10030-MMM-JAG # 20 Page 34 of 36
(E)    Additional Fees Assessed Upon Admission

      This court assesses a special $35.00 fee to be paid by each attorney at the time of admission to
      practice in this court.

      The special $35.00 fee will be deposited in the District Court Fund and administered in accordance
      with the provisions of the Plan for the Administration of the District Court Fund adopted by this
      Court on June 1, 2000, primarily for the reimbursement of expenses incurred by pro bono counsel.


(F)   Admission Pro Hac Vice.

      At the discretion of the presiding judge, an attorney duly licensed to practice in any state or the
      District of Columbia may, upon motion, be permitted to appear of record and participate in a case
      on one occasion; thereafter, the attorney must secure regular admission or the attorney will not be
      permitted to participate in the case, and may be subject to sanctions.


(G)   Unauthorized Practice.

      All attorneys who appear in person or by filing pleadings in this court must be admitted to practice
      in this court in accordance with this rule. Only attorneys so admitted shall practice or file pleadings
      in this court. Except as provided in Local Rule 83.5 (E), upon entry of appearance as an attorney
      of record, the entry of appearance must include a certification that the attorney is a member in good
      standing of the bar of this court.

      Any person who, before his or her admission to the bar of this court, or during his or her suspension
      or disbarment, exercises in this district any of the privileges of a member of the bar in any action
      or proceeding pending in this court, or who pretends to be entitled to do so, may be adjudged guilty
      of contempt of court and appropriately sanctioned.


(H)   Changes Reported to the Clerk of This Court.

      If at any time after admission any relevant circumstance changes for an attorney (e.g. name,
      address, phone number, disciplinary status), he or she shall notify the clerk of this court in writing
      of such change.




                                         RULE 83.5 - 2
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      Admission may be in person or by mail. Procedures for admission by mail shall be prescribed by
      the clerk of this court. Admission shall be as of the date the oath card is received by the Clerk.



(J)   Pro Bono Panel.

      The Pro Bono Panel of this court shall consist of all attorneys admitted to practice in this court
      whose place of business is in the Central District of Illinois. Attorneys employed full time by the
      United States, the State of Illinois or a county are exempt from service on the panel. Attorneys
      appointed pro bono to represent litigants shall not enter into any contingent fee arrangement with
      their clients concerning the subject case. Statutory fees and expenses may be awarded to a pro
      bono attorney as provided by law.

      Any attorney appointed to represent an indigent party in a civil proceeding before this Court, may
      petition the Court for reimbursement of expenses incurred in the preparation and presentation of
      the proceeding, subject to the procedures and regulations contained in the plan of this Court
      adopted June 1, 2000, governing reimbursement of expenses from the District Court Fund




                                        RULE 83.5 - 3
                 UNITED STATES DISTRICT
               1:09-cr-10030-MMM-JAG # 20 COURT
                                           Page 36 of 36
                 CENTRAL DISTRICT OF ILLINOIS

                  ECF ATTORNEY REGISTRATION FORM
    To register for an account on this Court’s Electronic Case Filing System (ECF), please complete the following information:
                                                           [PLEASE TYPE]
First Name: ___________________________________               Middle Name: ____________________________________________

Last Name: ___________________________________                Bar ID Number and State:___________________________________

Firm Name: _____________________________________________________________________________________________

Address: ________________________________________________________________________________________________

City:__________________________________________________ State:__________________ Zip Code:__________________

Telephone Number: ______________________________                  Primary e-mail address:___________________________________
                                                                                              (Attorney’s individual e-mail for purposes of receipt and
                                                                                                    confirmation of login and passw ord information)



Fax Number:____________________________________                   Secondary e-mail address:_________________________________
                                                                                                        (For purposes of ongoing notices of filing, e.g. central
                                                                                                                           repository, secretary)
Attorneys seeking to file documents electronically must be admitted to practice in the United States District Court for the
Central District of Illinois pursuant to Local Rule 83.5.


Date admitted to practice in this Court: __________________             Are you currently in good standing?                   Yes      9       No     9
The undersigned agrees to abide by all Court rules, orders, and policies and procedures governing the use of the electronic filing
system. The undersigned also consents to receiving notice of filings pursuant to Fed. R. Civ. P. 5(b)(2)(D) and Fed. R. Crim.
P. 49(b) via the Court’s electronic filing system. The combination of user id and password will serve as the signature of the
attorney filing the documents. Attorneys must protect the security of their passwords and immediately notify the Court if they
learn that their password has been compromised. The undersigned acknowledges that misuse of the password or violations
of the Administrative Procedures for controlling electronic filing may subject the undersigned to sanctions pursuant to Fed.
R. Civ. P. 11. Visit the PACER web site at http://pacer.psc.uscourts.gov to establish a PACER account.

Attorney Signature_________________________________________________                           Date _____________________________

Submit completed Registration Form to:                   John M. W aters, Clerk
                                                         United States District Court
                                                         Attention: Electronic Filing System Registration
                                                         600 E. Monroe St
                                                         Room 151
                                                         Springfield, IL 62701
                                                         (217) 492-4020




                                                              COURT USE ONLY:

                                                              E - Filing Login Assigned: ______________________________________
Login name sent via e-mail. Password will be sent via
separate e-mail after confirmation of receipt of login        E - Filing Password Assigned: __________________________________
name. Contact any of our divisional offices with
questions concerning registration or ECF.

                                                              Q   Attorney’s e-mail record updated               Q   Password e-mailed to attorney

                                                              Q   Confirmation e-mail with login sent            Q   Copy of form mailed to attorney

                                                              Q   E-mail address confirmed by attorney
